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                         EXHIBIT 4
                                               Case 3:06-cv-06384-CRB
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                                                                          IN THE UNITED STATES DISTRICT COURT
                                           8
                                           9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




                                          11   SECURITIES AND EXCHANGE COMMISSION,                             No. C 06-06384 CRB
    United States District Court




                                          12                 Plaintiff,                                        Clerk's Notice
                                          13     v.
                                          14   ROMULUS S. PEREIRA,
                                          15                 Defendant.
                                                                                          /
                                          16
                                          17   YOU ARE NOTIFIED THAT the Court has rescheduled the motions currently on calendar for
                                               February 16, 2007 to Friday, March 2, 2007 at 10:00 a.m. before the Honorable Charles R. Breyer.
                                          18
                                          19   Please report to Courtroom 8, on the 19th Floor, U.S. District Courthouse, 450 Golden Gate Avenue,
                                          20   San Francisco, CA 94102.

                                          21
                                               Dated: February 13, 2007                                   FOR THE COURT,
                                          22
                                                                                                           Richard W. Wieking, Clerk
                                          23
                                                                                                           By:_____________________
                                          24                                                                    Barbara Espinoza
                                                                                                                Courtroom Deputy
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